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         EXHIBIT 133
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                                                                                 Page 1
                         UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION
        ____________________________
        RICHARD KADREY, et al.,                 )
                                                )
                      Individual and            )
                      Representative            )
                      Plaintiffs,               )
                                                )
        v.                                      )     Case No. 3:23-cv-03417-VC
                                                )
        META PLATFORMS, INC.,                   )
                                                )
                      Defendant.                )
        ____________________________)


            ** CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER **
             Videotaped Deposition of meta Platforms, Inc.
                  by and through its corporate designee
                                     SY CHOUDHURY
                           San Francisco, California
                           Thursday, December 5, 2024


                         Reported Stenographically by
                  Michael P. Hensley, RDR, CSR No. 14114
        ____________________________________________________
                             DIGITAL EVIDENCE GROUP
                        1730 M. Street, NW, Suite 812
                             Washington, D.C. 20036
                                   (202) 232-0646



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                                                                               Page 66
   1            Q.      We actually saw a number of book

   2     publishers among other content owners that Meta was

   3     attempting to negotiate licenses with at this time,

   4     not just two.

   5                    Are you saying that Meta was pursuing

   6     licenses even though it didn't believe there was a

   7     market for obtaining or licensing works from those

   8     entities at this time?

   9                    ATTORNEY HARTNETT:             Objection to the form

 10      of the question.

 11                     THE WITNESS:         I think we did not know --

 12      unlike some of the other forms, like images, where

 13      there was many more informed and, I'll say,

 14      consistent within the same range and public

 15      proposals, we did not have that many for nonfiction

 16      or fiction books.

 17      BY ATTORNEY PRITT:

 18             Q.      Is it fair to say that there was a

 19      potential market for licensing literary works for

 20      use in Meta's LLMs at this time?

 21             A.      There was a potential market --

 22                     ATTORNEY HARTNETT:             Objection to the form.



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                                                                               Page 67
   1                    THE WITNESS:         There was a potential

   2     market, but I do not believe that at the time that

   3     there was a informed -- or a true market.

   4     BY ATTORNEY PRITT:

   5            Q.      And do you also believe there was a

   6     potential market for licensing literary works for

   7     use as training data in Meta's LLMs at this time?

   8                    ATTORNEY HARTNETT:             Object to the form.

   9     Calls for speculation.

 10                     THE WITNESS:         I can't really say.              I'm

 11      just -- I -- I don't think that one or two data

 12      points is -- is -- it clearly did not allow me or my

 13      colleagues to build a business model to propose to

 14      product and engineering; so I would say, probably,

 15      "No."

 16      BY ATTORNEY PRITT:

 17             Q.      Did you recall anyone in the first quarter

 18      of 2023 at Meta suggesting that there was not a

 19      market or a potential market for licensing text data

 20      for use in Meta's LLMs?

 21                     ATTORNEY HARTNETT:             Objection to the form.

 22                     THE WITNESS:         We did not have, to my



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   1                  CERTIFICATE OF SHORTHAND REPORTER

   2

   3            I, Michael P. Hensley, Registered Diplomate

   4     Reporter for the State of California, CSR No. 14114,

   5     the officer before whom the foregoing deposition was

   6     taken, do hereby certify that the foregoing

   7     transcript is a true and correct record of the

   8     testimony given; that said testimony was taken by me

   9     stenographically and thereafter reduced to

 10      typewriting under my direction; that reading and

 11      signing was not requested; and that I am neither

 12      counsel for, related to, nor employed by any of the

 13      parties to this case and have no interest, financial

 14      or otherwise, in its outcome.

 15

 16

 17

 18                              ___________________________________

 19                                      Michael P. Hensley, CSR, RDR

 20

 21

 22



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